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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

TERRY JONES,

       Plaintiff,

-vs-                                              CASE NO.: 8:18-cv-01092-JDW-AEP

STERLING JEWELERS INC. D/B/A KAY
JEWELERS AND GENESIS FS CARD
SERVICES, INC.,

       Defendant.
                                        /

                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        COMES NOW Plaintiff, Terry Jones, and Defendants, Sterling Jewelers Inc. D/B/A Kay

Jewelers and Genesis FS Card Services, Inc., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

hereby stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff

against Defendants in the above styled action, with Plaintiff and Defendants to bear their own

attorney’s fees, costs and expenses.

        Respectfully submitted this 12th day of October, 2018.

  /s/ John C. Distasio                            /s/_Charles E. Stoecker__
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                                       /s/ Dayle M. Van Hoose___
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